      Case 2:20-cv-03649-PBT Document 80-2 Filed 06/29/22 Page 1 of 5




                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


POLYSCIENCES, INC.,
                                                  CIVIL ACTION
           Plaintiff/Counter-Defendant

v.                                          DOCKET NO.: 20-cv-03649-PBT

JOSEPH T. MASRUD,
MATHEW GRIFFIN, and
SEROCHEM LLC,

           Defendants/Counter-Plaintiffs.


         PLAINTIFF POLYSCIENCES, INC.’S REPLY IN SUPPORT OF
         MOTION TO COMPEL ATTENDANCE AT ORAL DEPOSITION
         Case 2:20-cv-03649-PBT Document 80-2 Filed 06/29/22 Page 2 of 5




       The core dispute giving rise to this motion is that Defendants Joseph T. Masrud (“Masrud”)

and Serochem LLC’s (“Serochem”) (collectively, “Defendants”) believe that they should not have

to appear for deposition until the Court rules on pending motions, and they receive some ephemeral

level of additional disclosure of the trade secrets that they misappropriated. This is not consistent

with the Federal Rules of Civil Procedure or the Court’s scheduling order. The Motion to Compel

should be granted.

       Plaintiff Polysciences, Inc. (“Polysciences”) has repeatedly addressed most of Defendants’

inaccurate arguments about trade secret disclosures in its prior briefings and during the oral

argument that was held before the Court of March 24, 2022. Again, Polysciences has repeatedly

identified its trade secrets with particularity to Defendants. Polysciences does not waste the

Court’s time by repeating its responses here but must address a few points.

       First, Polysciences emphasizes its surprise and disappointment that Defendants still have

not hired an expert. This underscores Defendants’ belittlement of the case and refusal to take the

allegations against them seriously. Defendants claim that they cannot “adequately prepare for or

participate in the depositions of Polysciences,” because documents are marked “Attorneys’ Eyes

Only.” The Opposition at p. 2. Yet, as already explained, the Protective Order provides exceptions

under which Defendants can view documents marked as “Attorneys’ Eyes Only.” Further, counsel

can view and describe the contents of these documents to Defendants, without revealing the highly

sensitive portions of the documents. To the extent counsel for Defendants does not understand the

scientific nature of the documents, Defendants could have, and frankly should have, hired an expert

to help work through the documents. That is a function of an expert in nearly all cases, and

certainly in cases of trade secret misappropriation. Polysciences cannot be faulted for Defendants’

refusal to take the basic step of hiring an expert.
         Case 2:20-cv-03649-PBT Document 80-2 Filed 06/29/22 Page 3 of 5




       Second, contrary to Defendants’ statements, Polysciences is not “interfering” with

Serochem’s customer relationships. As Defendants are aware, MilliporeSigma was a customer of

Polysciences while Mr. Masrud was still employed at Polysciences. Mr. Masrud, upon starting

Serochem, contacted an individual at MilliporeSigma that he only knew because of his time at

Polysciences. Polysciences still has a relationship with MillisporeSigma. Polysciences suspected

Defendants’ attempt to steal its customers, including MilliporeSigma, long before it received

discovery from Defendants. In fact, Defendants excluded MillipsoreSigma from the prohibited

customer list provided in the stipulated Temporary Restraining Order, entered almost two years

ago. This also raised red flags. Polysciences was forced a year later to serve a third-party subpoena

on MilliporeSigma because Defendants refused to provide the requested documents and

information themselves.     Issuing a subpoena to a non-party in possession of discoverable

information is not a retaliatory action as Defendants suggest. The argument echoes that raised by

Mr. Griffin in his now-dismissed abuse of process claim.

       Third, Defendants’ continued refusal to provide “future development plans, changes to the

formulation of its products, and other confidential competitive information” is improper. The

Opposition at p. 2, n. 1; see also Objections to Notice of Deposition of Serochem Pursuant to Fed.

R. Civ. P. 30(B)(6) attached hereto as Exhibit A (repeatedly objecting to providing discoverable

testimony relating to Serochem’s future development and marketing plans and other confidential

information). As Defendants acknowledge, the Protective Order allows Defendants to produce

this information under the “Attorneys’ Eyes Only” designation to prevent anyone at Polysciences

from learning any highly sensitive and/or competitive information.            There is no risk of

Polysciences gaining an unfair competitive advantage as only counsel and independent experts,

who have agreed to the confidentiality obligations of the Protective Order, would be privy to such



                                                 2
          Case 2:20-cv-03649-PBT Document 80-2 Filed 06/29/22 Page 4 of 5




documents. These items are properly discoverable within the parameters of the Protective Order.

This is not a valid basis to withhold information.

       Further, this sort of information is highly material to both liability and damages in this case.

By way of example, Polysciences has identified trade secrets in both its non-GMP and GMP PEI

Products. It is highly probable that the development of GMP PEI Products is in Serochem’s future

development plans. Such discovery is not a “blank check” to all of Serochem’s confidential

information as Defendants suggest, but rather requests for specific information to establish the

parameters of Defendants’ actions and planned actions, and the repercussions of that conduct.

Opposition at p. 3. Polysciences is entitled to test its theories of the case, both through written

discovery and oral deposition, and Polysciences is seeking specific material information to

precisely do that. Further, as noted above, under the Protective Order Serochem can identify any

sensitive commercial information as “Attorneys Eyes Only” to limit disclosure to counsel and

independent experts who abide by the Protective Order.

       Fourth, Defendants have not properly moved for a stay of discovery. Even if they had,

there is no basis to stay discovery for the reasons outlined above and in Polysciences’ Motion to

Compel.

       Fifth, and finally, this case is scheduled for trial in October 2022, some 27 months since it

was filed. There is no need to delay this case any further. Assuming the Court allows depositions

to proceed, the parties can complete discovery by August, which would provide sufficient time to

prepare for trial in October.

       For at least the above stated reasons, and the reasons stated in the Motion to Compel

Attendance at Oral Deposition, the Court should grant Polysciences’ Motion and require

Defendants to appear for deposition in July 2022 in Philadelphia.



                                                  3
        Case 2:20-cv-03649-PBT Document 80-2 Filed 06/29/22 Page 5 of 5




Dated: June 29, 2022                Respectfully submitted,

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